Case: 1:19-cv-03777 Document #: 1-6 Filed: 06/06/19 Page 1 of 1 PageID #:40

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June 6, 2019

VIA FEDERAL EXPRESS

Kathleen A. DeLaney
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DELANEY & DELANEY

3646 N. Washington Blvd.
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The Positive Sobriety Institute, LLC
c/o CT Corporation System

208 South LaSalle St., Suite 814
Chicago, Illinois 60604

Re: [a «. St. Vincent Medical Group, Inc, St. Vincent
Carmel! Hospital, Inc., and Hannah Thornton, R.N., N.P.

This letter is to advise you that Defendants in the above captioned matter will be filing
the attached Application to Issue Authorizing Order Pursuant to 42 C.F.R. CH. I, Part 2, Subpart
Eto obtain MGT reatment Records from the Positive Sobriety Institute, LLC
(*PSI”). The Application will be filed in the United States District Court for the Northern District
of Illinois, Eastern Division, and will be captioned: Jane Doe v. St. Vincent Medical Group, Inc.,
St. Vincent Carmel Hospital, Inc., and Hannah Thornton, R.N., N.P.

Pursuant to 42 C.F.R. § 2.64(b), Sand PSI will have an opportunity to file a
written response to the Application, or to appear in person, for the limited purpose of providing
evidence on the statutory and regulatory criteria for the issuance of the court order described in
Section 2.64(b). To facilitate this process, Defendants will provide a cause number once the
attached documents have been filed with the Court.

Please contact.me with any questions.

Peter T. Tschanz EXHIBIT EF

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